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Attorneys for Defendant JAMES COLTON GIANNELL


                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                         Case No. CR-20-189-E-DCN

       Plaintiff,                                 DEFENDANT’S THIRD MOTION TO
                                                  CONTINUE SENTENCING
vs.

JAMES COLTON GIANNELL,

       Defendant.


       COMES NOW the Defendant, James Colton Giannell, by and through his attorney of

record, Alan Johnston of the law firm Murray, Ziel, & Johnston, PLLC, and moves the Court for

an order continuing the sentencing of Mr. Giannell presently scheduled for May 31, 2022 at

10:00 a.m.

       1.       Counsel for the Defendant has objections to make to the presentence investigation

report, and desires to give notice of his intent to request a variance. However, due to a

calendaring issue, and a number of matters being due at once, counsel was unable to timely file

his objections and notice.

       2.       Counsel was waiting to receive the Psychosexual Evaluation that was required as

part of sentencing before making his objections. While this was received prior to the time the



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objections were due, there was not adequate time with counsel’s other obligations at the time to

complete all matters before him.

        3.     Specifically, in the weeks prior to the due date for objections to the PSR, counsel

for the Defendant submitted a lengthy brief to the Idaho Supreme Court on an expedited appeal,

briefing on other criminal matters before this Court, and a court trial. While counsel would have

liked to have completed all matters timely, the imposed deadlines were simply not all possible to

meet.

        4.     Counsel for the Defendant has discussed this request with both Mr. Giannell and

counsel for the Government, both of whom have indicated that they have no objection.

        5.     Counsel has been actively working on his objections and notice of intent to seek a

variance, and is confident that the same can be filed soon. Therefore, a lengthy continuance is

not needed.

        6.     This is Mr. Giannell’s third request to continue his sentencing.

        WHEREFORE, Mr. Giannell respectfully requests that the sentencing presently

scheduled for May 31, 2022 at 10:00 a.m. be continued.

        DATED THIS 11th day of May, 2022.

                                                     MURRAY ZIEL & JOHNSTON, PLLC


                                                                   /s/
                                                     ALAN JOHNSTON
                                                     Attorney for Defendant




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY THAT, I caused a true and correct copy of the foregoing

DEFENDANT’S THIRD MOTION TO CONTINUE SENTENCING to be electronically filed

with the Clerk of the Court and using the CM/ECF system, which sent a Notice of Electronic

Filing to the following persons:

       JOHN SHIRTS, ESQ
       U.S. ATTORNEY’S OFFICE
       801 Sherman, Ste. 192
       Pocatello, ID 83201

                                                   


                                                                /s/
                                                  ALAN JOHNSTON
                                                  Attorney for Defendant




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